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                                                                             25 South Charles Street, 21st Floor
                                                                              Baltimore, Maryland 21201-3305
                                                                             T: 410.727.6600  F: 410.727-1115
                                                                                    www.rosenbergmartin.com



                                             July 8, 2025

Via CM/ECF
The Honorable James K. Bredar
U.S. District Court Judge
United States District Court
  for the District of Maryland
101 W Lombard Street
Baltimore, MD 21201

       Re:     Joint Status Report
               CMDS Residential, LLC v. Mayor and City Council of Baltimore
               In the United States District Court for the District of Maryland
               Case No. 1:21-cv-01774

Dear Judge Bredar:

        Pursuant to the Court’s Order dated April 9, 2025 (ECF 150), the Parties hereby submit
this joint status report regarding the progress of the parallel state court litigation docketed as In re
CMDS Residential, LLC, No. 24-C-24-000997 (Cir. Ct. Balt. City Feb. 27, 2024).

       On May 2, 2025, the Circuit Court for Baltimore City issued a “Statement of Reasons and
Order of the Court” (hereinafter, the “Initial Judgment”) affirming the decision of the Board of
Municipal and Zoning Appeals in Appeal No. 2021-11. The Parties did not learn of the Initial
Judgment until 42 days after it was issued because the Circuit Court inadvertently failed to serve
a copy on the Parties. To remedy this error, CMDS filed a Consent Motion to Vacate and Re-
Enter Judgment. The Circuit Court granted the Consent Motion on July 2, 2025, ordered that the
Clerk vacate the Initial Judgment and re-enter the full Statement of Reasons and Order of the Court
with sufficient description, and further ordered that the Clerk’s Office ensure the final judgment is
properly served on the Parties. As of the date of this Joint Status Report, a final judgment has not
been docketed, but CMDS has urged the Clerk’s Office to re-enter the Initial Judgment as soon as
possible. Once that occurs, CMDS will have 30 days to note an appeal. Md. Rule 8-202(a).

        CMDS intends to appeal the state court’s decision to the Appellate Court of Maryland.
Given the circumstances, we recommend that this matter remain stayed pending the Appellate
Court of Maryland’s decision in the state court litigation. The parties recommend that another joint
status report be filed every three months, beginning on or around October 6, 2025, regarding the
progress of that appeal, or – once the appeal is resolved – as soon as practicable.

      We are, of course, available at the Court’s convenience if Your Honor has any questions
or comments concerning the above.
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 Respectfully submitted,



  /s/ Harris W. Eisenstein                    /s/ Thomas P.G. Webb
 Harris W. Eisenstein (Fed. Bar No. 29694)   Thomas P.G. Webb (Fed. Bar No. 18624)
 Jamar R. Brown (Fed. Bar No. 19522)         Adam Levine (Fed. Bar No. 24888)
 Lauren M. McLarney (Fed. Bar No.            Stephen Salsbury (Fed. Bar No. 20395)
 20982)                                      Elisabeth B. Hofmann (Fed. Bar No. 220099)
 Rosenberg Martin Greenberg, LLP             Baltimore City Law Department
 25 S Charles Street 21st Floor              100 N Holliday Street, City Hall
 Baltimore, Maryland 21201                   Baltimore, MD 21202
 Phone: (410) 727-6600                       Phone: (410) 396-5784
 Fax: (410) 727-1115                         Fax: (410) 547-1025
 heisenstein@rosenbergmartin.com             Tom.webb@baltimorecity.gov
 jbrown@rosenbergmartin.com                  Adam.levine@baltimorecity.gov
 lmclarney@rosenbergmartin.com               Stephen.salsbury@baltimorecity.gov
                                             Elisabeth.hofmann@baltimorecity.gov
 Attorneys for Plaintiff
 CMDS Residential, LLC                       Attorney for Defendant
                                             Mayor and City Council of Baltimore




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